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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION


SECURITIES AND EXCHANGE COMMISSION,                           :
                                                              :
                       Plaintiff,                             :
                                                              :
       v.                                                     :      Civil Action No.
                                                              :      4:11-cv-00655
JAMES G. TEMME, and                                           :
STEWARDSHIP FUND, LP,                                         :
                                                              :
                  Defendants,                   :
________________________________________________:

                                 FINAL JUDGMENT
                      AS TO DEFENDANT STEWARDSHIP FUND, LP

       The Securities and Exchange Commission having filed a Complaint and Defendant

Stewardship Fund, LP, (“Defendant”) having by written consent (“Consent”) entered a general

appearance; consented to the Court’s jurisdiction over it and over the subject matter of this

action; consented to entry of this Final Judgment (“Final Judgment”) without admitting or

denying the allegations of the Complaint (except as to jurisdiction and except as otherwise

provided herein in paragraph V); waived findings of fact and conclusions of law; and waived any

right to appeal from this Final Judgment:

                                                 I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of the

Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and Rule 10b-5

promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or instrumentality of

interstate commerce, or of the mails, or of any facility of any national securities exchange, in

connection with the purchase or sale of any security:
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        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to make any untrue statement of a material fact or to omit to state a material fact

                necessary in order to make the statements made, in the light of the circumstances

                under which they were made, not misleading; or

        (c)     to engage in any act, practice, or course of business which operates or would

                operate as a fraud or deceit upon any person.

        IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                 II.

        IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is permanently restrained and enjoined from violating Section 17(a) of the Securities Act of 1933

(the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any security by the use of any

means or instruments of transportation or communication in interstate commerce or by use of the

mails, directly or indirectly:

        (a)     to employ any device, scheme, or artifice to defraud;

        (b)     to obtain money or property by means of any untrue statement of a material fact

                or any omission of a material fact necessary in order to make the statements

                made, in light of the circumstances under which they were made, not misleading;

                or
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       (c)     to engage in any transaction, practice, or course of business which operates or

               would operate as a fraud or deceit upon the purchaser.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                III.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant

is required to pay disgorgement of $3,376,990. Payment of the $3,376,990 is deemed to have

been fully satisfied as of the date of this Final Judgment by the amount collected by the Receiver

as reflected in the Receiver’s final accounting submitted to the Court.

                                                IV.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that the

Consent is incorporated herein with the same force and effect as if fully set forth herein, and that

Defendant shall comply with all of the undertakings and agreements set forth therein.

                                                 V.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes of

exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523, the

allegations in the complaint are true and admitted by Defendant, and further, any debt for

disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under this

Final Judgment or any other judgment, order, consent order, decree or settlement agreement

entered in connection with this proceeding, is a debt for the violation by Defendant of the federal
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    securities laws or any regulation or order issued under such laws, as set forth in Section

    523(a)(19) of the Bankruptcy Code, 11 U.S.C. §523(a)(19).

                                                    VI.

           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

    jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.

                                                    VII.
.          There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil

    Procedure, the Clerk is ordered to enter this Final Judgment forthwith and without further notice.

           All relief not previously granted is hereby denied.

           IT IS SO ORDERED.
            SIGNED this 12th day of September, 2017.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE
